
705 S.E.2d 358 (2010)
In the Matter of D.R.F., a Minor Child.
Appealed by Annette Ford, Mother.
No. 345P10.
Supreme Court of North Carolina.
December 15, 2010.
Peter Wood, for Ford, Annette.
Pamela Newell Williams, Guardian ad Litem, Raleigh, for D.R.F.
William H. High, Jr., Raleigh, for Chowan County DSS.
Jeff Miller, for Barcliff, Darryl.

ORDER
Upon consideration of the petition filed on the 10th of August 2010 by Respondent (Mother) in this matter for discretionary review of the decision of the North Carolina *359 Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 15th of December 2010."
